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                   EXHIBIT G
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From:                                           Joseph Sharp
Sent:                                           Monday, February 1, 2021 2:56 PM
To:                                             'Bowler, John M.'
Cc:                                             'Henner, Lindsay Mitchell'; 'Hobbs, Michael D.'
Subject:                                        RE: Keenan's Kids Foundation v. Claggett: Dismissal
Attachments:                                    76247514_1-c-c.pdf


John: I hope you are well. It has been over a week since you told me that Plaintiff would be dismissing the case. At this
point, because the case remains pending, we need to move forward with discovery.
To that end, please:
1. Respond by close of business Wednesday, February 3, 2021 to my January 21, 2021 letter which is attached; and
2. Provide this week dates within the next month when Don Keenan, Mindy Bish and David Hoey can be available for
depositions. We can be available the week of February 22, 2021 for the depositions.
Of course, we will work with you to schedule Mr. Claggett’s deposition.
Thanks. Joe

Joseph Sharp
Shareholder

jsharp@polsinelli.com
404.253.6028
1201 West Peachtree Street NW, Suite 1100
Atlanta, GA 30309
"Tier One: Nationally ranked for Commercial Litigation,
U.S.News and World Report's 2021 'Best Law Firms'"




Polsinelli PC, Polsinelli LLP in California

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From: Bowler, John M. <john.bowler@troutman.com>
Sent: Friday, January 22, 2021 2:40 PM
To: Joseph Sharp <JSharp@Polsinelli.com>
Cc: Henner, Lindsay Mitchell <Lindsay.henner@troutman.com>; Hobbs, Michael D. <michael.hobbs@troutman.com>
Subject: RE: Keenan's Kids Foundation v. Claggett: Dismissal

 EXTERNAL EMAIL                    john.bowler@troutman.com


Joe,


Our client is evaluating your client’s proposal. We expect to be able to respond with our client’s position in a few
days. We will respond to your other emails to Lindsay in due course and depending on the dismissal decision. Thanks.


John




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John M. Bowler
Partner
troutman pepper
Direct: 404.885.3190 | Internal: 11-3190
john.bowler@troutman.com

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From: Joseph Sharp <JSharp@Polsinelli.com>
Sent: Thursday, January 21, 2021 1:50 PM
To: Bowler, John M. <john.bowler@troutman.com>
Cc: Henner, Lindsay Mitchell <Lindsay.henner@troutman.com>; Hobbs, Michael D. <michael.hobbs@troutman.com>
Subject: Keenan's Kids Foundation v. Claggett: Dismissal

EXTERNAL SENDER

John: I am following up on our call of today. Mr. Claggett will stipulate to a dismissal if: 1. The dismissal is with Prejudice;
2. Plaintiff pays Mr. Claggett $77,500 to reimburse him for the attorney’s fees and expenses he has incurred related to
the case; and 3. Plaintiff states in writing that the voir dire and other courses Mr. Claggett is currently teaching do not
violate any of Plaintiff’s rights, and Plaintiff has no objection to the content of such courses or to Mr. Claggett continuing
to teach such courses.
Please advise as to Plaintiff’s position.
Thanks. Joe

Joseph Sharp
Shareholder

jsharp@polsinelli.com
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Polsinelli PC, Polsinelli LLP in California

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